FILED DATE: 10/30/2023 2:56 PM 2020D007036

Case: 1:22-cv-04832 Document #: 58-1 ried aola§ baie of A|PagelD #:340

This form is approved by the Illinois Supreme Court and Is required to be accepted in all Illinois Appellate Courts.

“In re Marriage of
Jones”), enter that
name. Below that,
enter the names of the
partics in the trial
courl, and check the
correct boxes to show

Instructions v (] THIS APPEAL INVOLVES A MATTER SUBJECT TO EXPEDITED DISRAQSITION
Check the box to the UNDER RULE 311(a). 10/30/2023 2:56 PM
right if your case IRIS Y. MARTINEZ
involves parental CIRCUIT CLERK
responsibility or COOK COUNTY, IL
parenting time APPEAL TO THE APPELLATE 20200007036
(custody/visitation Calendar, 97
rights) or relocation of COURT OF ILLINOIS 25000043
a child. FIRST District
Just below "Appeal to from the Circuit Court of
the Appellate Court of a
Illinois," enter the Cook County
number of the
appcllate district that
wil! hear the appeal
and the county of the . /
trial court. Inre Marriage of Kriley
If the case name in the
trial court began with
“In re” (for cxample,

Trial Court Case No.:

Paul Kriley

2020D7036 & 20200P20476

Plalntiffs/Petitloners (First, middle, last names)
[] Appellants

Appellees

Honorable
Maritza Martinez

(1 Defendant-Appellant

which party is filing Vv. Judge, Presiding
the appeal
(“appeflanv”) and
which party is
responding to the
appeal (“appelice“). Alena Kriley Supreme Court Rule:
To the far right, enter Defendants/Respondents (First, middle, last names) : 307
the trial court case
number, the trial Appellants C) Appellees
judge's name, and the
Supreme Court Rule
that allows the
appellate court to hear
the appeal.
NOTICE OF APPEAL (CIVIL)
In 1, check the type of 1. Type of Appeal:
wpe oO Appeal
or more information
on choosing a type of interlocutory Appeal
appeal, sec How to File (1 Joining Prior Appeal
a Notice of Appeal. L] Separate Appeal
[}] Cross Appeal
In 2, list the name of 2. Name of Each Person Appealing:
each person filing the Name: Alena Kriley
appeal and check the First Middle Last
proper box for cach a
| yerson. L] Plaintiff-Appellant [_] Petitioner-Appellant
OR

Respondent-Appellant

Find IlfInols Supreme Court approved forms at: illinoiscourts. gov/documents-and-forms/approved-forms.

NAA-N 2803.6

Page 1 of 4 (05/22)

Case: 1:22-cv-04832 Document #: 58-1 Filed: 12/01/23 Page 2 of 4 PagelD #:341

Name:
First Midale Last
[) Plaintiff-Appellant [) Petitioner-Appellant
OR
[] Defendant-Appeilant (| Respondent-Appeliant
In 3, identify every 3. List the date of every order or judgment you want to appeal:
order or judgment you
‘want to appeal by 11/09/2020 oO. Os,
listing the date the trial Date.
court entered it.
_priejaoal, 04/1) 20a1, oSfoy/aoal, asfac/Poal, ob] ai/aval
Date
bb 1 o\ a/ABA

Date

0Y/ 04] dood, oso lx, cifol/2oe9, \#]o1/ 2022, 23/13/22,

FILED DATE: 10/30/2023 2:56 PM 20200007036

/
your relief: AS]0S fotos oS ha/g02 3, l of f Wma 4

4, §
In 4, state what you WW] reverse the trial court's judgment (change the judgment in favor of the other party into a
want the appellate : : ; :
court to do, You may judgment in your favor) and [_] send the case back to the trial court for any hearings
check as many boxes that are still required;
as apply. 1 vacate the trial court’s judgment (erase the judgment in favor of the other party)

and ((] send the case back to the trial court for a new hearing and a new judgment,
[1 change the trial court's judgment to say:

(] order the trial court to:

C1 other:

and grant any other relief that the court finds appropriate.

If you are completing /siRebecca A. Day 1165 N. Clark St., Ste. 700

this form ona Your Signature Street Address

computer, sign your

ri ce nein f | Rebecca A. Day Chicago, IL 60610

by hand, sign by lend Your Name City, State, ZIP

and print your

name, Fill in your rebecca@rdklegal.com (773) 334-6314 6338870

address, telephone Email Telephone Attorney # (if any)
number, and email

address, if you huve

one, Additional Appellant Signature

All appellants must isi

sign this torm. Have Signature Street Address

each additional

appcilant sign the form

here and enter their

complete flame, Name City, State, ZIP

address, telephone

number, and email

address, Wtheyhave “Email Telephone Attorney # (if any)

GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone cise and that you check
every day. If you do not check your email every day, you may miss important information, natice of court dates, or documents from other parties.

Find Iinois Supreme Court approved forms at: iinoiscourts.qov/documents-and-forms/approved-forms.

NAA-N 2803.6 Page 2 of 4 (05/22)

FILED DATE: 10/30/2023 2:56 PM 2020D007036

Case: 1:22-cv-04832 Document #: 58-1 Filed: 12/01/23 Page 3 of 4 PagelD #:342

Jn 1a, enter the name,
mailing address, and
email address of the
party or lawyer to
whom you sent the
document.

Tn 1b, check the box to
show how you sent the
document, and fill in
any other information
required on the blank
lines.

Tn 1b, check the box to
show how you ate
sending the document.

CAUTIHON: If you and
the person you are
sending the document
to have an email
address, you must use
one of the first two
options. Otherwise,
you may use one of the
other options.

Tn ¢, fill in the date and
time that you sent the
document.

In 2, if you sent the
document to more
than ! party or lawyer,
fill in a, b, and ec.
Otherwise leave 2

blank.

Find IMinois Supreme Court approved forms at: iltinoiscourts.qov/documents-and-forms/approved-forms.

NAA-N 2803.6

PROOF OF SERVICE (You must serve the other party and complete this section)

4. | sent this document:

a. To:
Name: Ms. Elizabeth Vogel
First Middle Last
Address:
Street, Apt # City State Zip
Email address: vogel@taradashgiven.com
b. By:
[] An approved electronic filing service provider (EFSP)
Email (not through an EFSP)
Only use one of the methods below if you do not have an email address, or the person you are
sending the document to does not have an email address.
() Personal hand delivery to:
[] The party
CL The party’s family member who is 13 or older, at the party's residence
[1 The party’s lawyer
[] The party's lawyer's office
[) Mail or third-party carrier
Cc. On: 10/30/2023
Date
At: 3:00 O am. p.m.
Time
2. |sent this document:
a. To:
Name: Mr. Michael Lodermeier
First Middle Last
Address:
Street, Apt # City State ZIP
Email address: michael@milfamilylaw.com
b. By:

CC] An approved electronic filing service provider (EFSP)

Email (not through an EFSP)
Only use one of the methods below if you do not have an email address, or the person you are
sanding the document to does not have an email address.

(] Personal hand delivery to:
LJ The party
{([] The party's family member who is 13 or older, at the party's residence
(1 The party's lawyer
L] The party's lawyer's office
[] Mail or third-party carrier
On: 10/30/2023
Date
At: 3:00
Time

CI a.m. p.m,

Page 3 of 4 (05/22)
FILED DATE: 10/30/2023 2:56 PM 2020D007036

Case: 1:22-cv-04832 Document #: 58-1 Filed: 12/01/23 Page 4 of 4 PagelD #:343

In 3, if you sent the
document to morc than
1 party or lawyer, fill
in a, b, and c.
Otherwise leave 2
blank.

Under the Code of
Civil Procedure, 735
ILCS 5/1-109,
making a statement
on this form that you
know to be false is
perjury, a Class 3
Felony.

3.

| sent this document:

a.

To:
Name: Mr. Paul Goodman
First Middle Last
Address:
Street, Apt # City State ZIP

Email address: lopg32@comcast.net

By:
(1 An approved electronic filing service provider (EFSP)

Email (not through an EFSP)
Only use one of the methods below if you do not have an email address, Or the person you are

sending the document to does not have an email address.
(-] Personal hand delivery to:
[_] The party
(] The party's family member who is 13 or older, at the party's residence
([] The party's lawyer
[] The party's lawyer's office
([] Mail or third-party carrier

On:

Date

At: CO am.
Time

CL] p.m.

i certify that everything in the Proof of Service is true and correct. | understand that making
a false statement on this form is perjury and has penaities provided by iaw

under 735 ILCS 5/1-109.

isf Rebecca A. Day

Tf you are completing
this form on a
computer, sign your
name by typing it. If
you are completing it
by hand, sign by hand
and print your name.

Find Illinois Supreme Court approved forms at: iflinoiscourts.gov/d

NAA-N 2803.6

Your Signature
Rebecca A. Day 45647
Print Your Name Attomey # (if any)
mants-and-fo ‘oved-form

Page 4 of 4 (05/22)
